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              EXHIBIT 2
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                                                                                                Statement Date            Amount Due
                                                            13727 Noel Road Suite 1025
                                                            Dallas TX 75240                       2/22/2024              $1,866,100.00
                                                                                                   01-23-0005-8758 – 14,911 cases
                                                                                                    Individuals v Valve Corporation




                                                             Invoice
 Valve Corporation
 c/o Charles B. Casper, Esq.
 Montgomery McCracken Walker & Rhoads, LLP
 123 South Broad Street
 2400 The Wachovia Building
 Philadelphia, PA 19109
 Via Email to: ccasper@mmwr.com


 Date          Reference Number              Description                                 Balance           Due Date

 2/22/2024     (07) 01-23-0005-8758                  Respondent Filing Fee               $1,866,100.00      Due Upon Receipt
                                             500 cases x $325.00
                                             1000 cases x 250.00
                                             1500 case x $175.00
                                             11,911 cases x $100.00


                                                          Payment Options
Wire Transfer / ACH / EFT

As information transmitted by the bank is often truncated due to limited space, please email your reference information (01-23-0005-
8758 Individuals v. Valve Corporation) with the date and amount of your wire, to ensure that your payment is credited promptly and
correctly to corpfinance@adr.org and LMEEFinance@adr.org.

         Name of Bank: Wells Fargo Bank
         Address: 150 East 42nd Street, 24th FL., New York, NY 10017, USA
         Account Name: AAA/American Arbitration Association
         Account Number: 2000017952068
         ABA/Transit Number: 121000248

Reference:
        Swift Code/BIC: WFBIUS6S

         Note: Please take steps to ensure that your bank does in fact wire the entire amount to our account. From time to time, certain
         banks will keep a portion of the wire transfer for their own service fee, leaving a balance due to the AAA/ICDR.

Paying by Check
Checks should be made payable to the American Arbitration Association and include the reference number noted above. Please return
this page with your payment to:

American Arbitration Association
Attn: Finance Director
13727 Noel Road
Suite 1025
Dallas, TX 75240
Corporate Address and Tax ID: American Arbitration Association, 120 Broadway, 21st Floor, New York, NY 10271, EIN # XX-XXXXXXX
